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September 13, 2019
BY ELECTRONIC MAIL

The Honorable Frederic Block

United States District Judge

United States District Court for the
Eastern District of New York

225 Cadman Plaza E.

Brooklyn, NY 11201

Re: Aikind v. Ocasio-Cortez
Case No. 19-cv-03956-FB-CLP

Dear Judge Block:

The parties in the above-captioned case write jointly in opposition to the Motion to
Intervene filed by Towaki Komatsu, pro se, on September 6, 2019 (ECF Doc. 16).

In this case, Plaintiff claims that Defendant, Alexandria Ocasio-Cortez, violated his rights
under the First Amendment when she blocked him from her Twitter account. Mr. Komatsu
seeks to intervene in this litigation on the basis of his claim that individuals unconnected to Ms.
Ocasio-Cortez — specifically New York City Mayor Bill DeBlasio, certain members of the
Mayor’s staff and administration, certain New York City Councilmembers, and certain officers
of the New York City Police Department —blocked him from other, unspecified Twitter accounts
and barred him from other public forums. Mr. Komatsu makes absolutely no claim that Ms.
Ocasio-Cortez blocked him from her Twitter account or from any public forum whatsoever, nor
does he allege that Ms. Ocasio-Cortez had any involvement in the alleged actions of the New
York City officials and personnel mentioned in the Motion to Intervene.

Rule 24 of the Federal Rules of Civil Procedure requires intervention when an individual
“claims an interest relating to the property or transaction that is the subject of the action, and is
so situated that disposing of the action may as a practical matter impair or impede the movant’s
ability to protect its interest, unless existing parties adequately represent that interest.” FRCP
Rule 24(a)(2). Additionally Rule 24 permits intervention where an individual “has a claim or
defense that shares with the main action a common question of law or fact.” FRCP Rule 24

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(b)(1)(B). Mr. Komatsu is not entitled to intervene in this action, either as of right or by
permission.

The transaction that is the subject of this action is Ms. Ocasio-Cortez’s blocking of
Plaintiff from her @AOC Twitter Account. Mr. Komatsu has no interest in that particular
transaction. Rather, the transactions in which he has a purported interest involve actions taken
by Mayor DeBlasio and other NYC officials/personnel to bar him from an unspecified Twitter
account and/or other public forums. Those transactions are entirely unrelated. Moreover, the
disposition of this action would not impair or impede Mr. Komatsu’s ability to protect his
interests. The outcome of this litigation — which will turn on the specific facts surrounding Ms.
Ocasio-Cortez’s @AOC Twitter account — will in no way prevent Mr. Komatsu from filing and
pursuing claims of his own against Mayor DeBlasio or other individuals regarding the harms he
allegedly suffered because he was barred from other, unrelated Twitter accounts and/or public
forums. Any such litigation would turn on the specific facts surrounding those accounts and
those public forums, as well the circumstances under which Mr. Komatsu was barred from them
— none of which will be determined in this action. Accordingly, Mr. Komatsu does not meet the
standard for intervention as of right under FRCP 24(a).

Nor does he meet the standard for permissive intervention under FRCP 24(b). The
claims Mr. Komatsu asserts do not share a common question of law or fact with this action. The
main issues in this case are whether the @AOC Twitter account is a public forum and whether
Ms. Ocasio-Cortez engaged in state action when she blocked Plaintiff from that account. The
questions of fact relate entirely to the nature of the @AOC Twitter account and Ms. Ocasio-
Cortez’s use of it. At no point in Mr. Komatsu’s lengthy and detailed Motion to Intervene, does
he assert that his claims involve those particular questions or law or fact.

In short, Mr. Komatsu seeks to intervene in this action because he has also been blocked
from someone’s Twitter account. That alone is insufficient to meet the standards set forth in
FRCP 24(a) or (b) and, accordingly, his motion should be denied.

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